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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF ARKANSAS
                                 LITTLE ROCK DIVISION

IN RE:                                            §
                                                  §
JERRY P. WHITLEY,                                 §          CASE NO. 4:13-bk-15983
                                                  §               Chapter 7
        Debtor.                                   §
                                                  §

   DEBTOR’S RESPONSE TO UNITED STATES TRUSTEE’S MOTION TO DISMISS



TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

        COMES NOW JERRY P. WHITLEY, Debtor in the above-referenced bankruptcy case

(“Debtor”) and files this his Debtor’s Response to United States Trustee’s Motion to Dismiss

(the “Response”) in response to the United States Trustee’s Motion to Dismiss (the “Motion”)

filed by the United States Trustee (“Movant”) and states as follows:

        1.       Debtor does not oppose the dismissal of this matter without prejudice.

        WHEREFORE, Debtor respectfully requests the Court dismiss his case without prejudice

to refiling same.

DATED this 11th day of January, 2018.

                                                      Respectfully submitted,
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                                                   /s/ Gregory W. Mitchell
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                               CERTIFICATE OF SERVICE

      I hereby certify that on January 11, 2018, a true and correct copy of the foregoing
document was served via the Court’s ECF system upon the required parties on the attached service
list.

                                                   /s/ Gregory W. Mitchell
                                                   Gregory W. Mitchell
